                           IN THE UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF OHIO

       UNITED STATES OF AMERICA,                   )
                                                   )       CASE NO.: 1:19-cr-132
              Plaintiff,                           )
                                                   )       JUDGE SARA LIOI
       v.                                          )
                                                   )       MOTION FOR LEAVE TO
       HARGIS HALL                                 )       FILE MOTION FOR
                                                   )       COMPASSIONATE RELEASE
                                                   )
              Defendant.                           )


       Comes now the undersigned counsel and moves this Court for an ORDER, to file a motion for

Compassionate Release on or before October 15, 2020.

       It takes longer than 45 days to arrange telephone calls with the inmate, speaking with family and

studying the case. Therefore, this counsel requests a filing date of October 15, 2020 for motion for

Compassionate Release.

                                                                                Respectfully submitted,

                                                                      /s/Joseph W. Gardner          _
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                                                                               Attorney for Defendant




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                                           CERTIFICATION
        I hereby certify that on September 2, 2020, a copy of the foregoing was filed electronically.
Notice of this filing will be sent by operation of the Court’s electronic filing system to all parties
indicated on the electronic filing receipt. All other parties will be served by regular US mail. Parties
may access this filing through the Court’s system.

                                                                      /s/Joseph W. Gardner         _
                                                                    JOSEPH W. GARDNER #0033400
                                                                              Attorney for Defendant




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